
601 So.2d 1331 (1992)
IN the Interest of C.K., a Minor,
V.K., natural mother, Appellant,
v.
STATE of Florida, DEPARTMENT OF HEALTH AND REHABILITATIVE SERVICES, Appellee.
No. 91-03524.
District Court of Appeal of Florida, Second District.
July 10, 1992.
Charles M. Samaha, St. Petersburg, for appellant.
Ronald S. Frankel, Victoria E. Mac Intosh of Victoria E. Mac Intosh, P.A., St. Petersburg, and Frank H. Nagatani, Pinellas Park, for appellee.
PATTERSON, Judge.
In this appeal from the termination of her parental rights, V.K. raises seven issues. We find merit in only one and reverse.
Neither the trial court's order terminating parental rights nor the transcript of the proceedings establishes that the court considered or evaluated the factors listed in section 39.467(2)(a)-(k), Florida Statutes (1991), in reaching its determination that the termination of parental rights is in the manifest best interests of the child. Thus, we reverse and remand with directions that the trial court conduct further proceedings to consider each factor in section 39.467(2) and render an appropriate written order setting forth findings of fact and conclusions of law. See In the Interest of R.J., 586 So.2d 496 (Fla. 1st DCA 1991). The trial court should then reassess whether C.K.'s manifest best interests require the termination of V.K.'s parental rights.
Reversed and remanded.
PARKER, A.C.J., and BENTLEY, E. RANDOLPH, Associate Judge, concur.
